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                           SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                                                                                                          EXHIBIT A
              FOR THE PERIOD BEGINNING:                      January1, 2013                                AND ENDING:         January 31,2013

Name of Debtor: TRILLION PARTNERS, INC.                                                                    Case Number:        11-cv-01787-MSK-MJW

                                                                                                              CURRENT
                                                                                                               MONTH

1. RECEIPTS:
 A. Customer Collections at Trillion
 B. Customer Collections in Lockbox                                                                            6,656,985.31
 C. Received from Secured Lenders                                                                                875,380.01
 D. Other Receipts

2. TOTAL RECEIPTS                                                                                              7,532,365.32

3. DISBURSEMENTS
 A    Advertising
  B   Bank /Credit Card Charges                                                                                      310.80
 C    Contract Labor                                                                                              69,357.78
  D   Fixed Asset Payments
  E   Insurance                                                                                                   12,433.00
  F   Inventory Payments                                                                                         158,797.22
 G    Leases                                                                                                      54,569.06
  H   Circuits                                                                                                    11 ,688.54
  I   Office Supplies                                                                                              1,221.73
  J   Payroll - Net                                                                                              228,280.66
  K   Professional Fees
 K1          Alvarez & Marsal
 K2          McElroy, Deutsch, Mulvaney & Carpenter
 K3          Horow.vitz & Burnett, P.C.                                                                            3,300.69
 K4          Wiley Rein                                                                                           75,268.88
 K5          Greg Vogt                                                                                             1 '125.00
 K6          Ford & Harrison
 K7          Real Estate Tax Consultants
 K8          Winstead P.C.
 K9          Grimshaw & Haring
K10          Ewell, Bickham , Brown & Rabb L
K11          Smith ,Ang derson, Blount, Dorsett
K12          Carianne Weston
K13          Madison Sproul Partners                                                                               1,917.60
  L   Rent                                                                                                        29,863.29
 M    Repairs & Maintenance                                                                                       54,278.61
  N   Secured Creditor Payments
 0    Taxes Paid - Payroll
  P   Taxes Paid- Sales & Use                                                                                      1,566.67
 Q    Taxes Paid- Other                                                                                           38,194.55
  R   Telephone                                                                                                    2,382.26
 S    Travel & Entertainment
  T   Utilities                                                                                                    8,838.02
  U   Vehicle Expenses                                                                                            14,321.93
U1    Bear Reimbursements                                                                                        250,435.28
U2    Payroll Contributions                                                                                       60,916.54
U3    Transfer to Escrow Account on behalf of Secured Creditors                                                6,812,118.19
 U4   Disbursement from Vectra Bank to Trillion
 U5   Disbursement from US Bank to Trillion
 V    Other Operating Expenses                                                                                    51' 791.01

4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                       7,942,977.31
5. NET CASH FLOW FOR PERIOD                                                                      (410,611.99)
7. ENDING BALANCE (Line 4 Minus Line 6)                                                         1,972,559.72 ( c)
I declare under penalty or perjury that this statement and the accompanying documents and reports are true
and correct to the best of my knowledge and belief.

This _ _ _2=-1:..:s;.;..t day of_ _ _ _ _ _ ____;,F....::e;;;;b.;.;ru:;.:a:;.;.ry.___ _ _ _ _ _ _ ,2013.                       s/ Byron P. Smyl
                                                                                                                               (Signature)

( a ) This number is carried forward from last month's report. For the first report only, this number will be the
      balance as of the receivership date.
( b) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
      the receivership
( c ) These two amounts will always be the same if form is completed correctly.


                                                                                     MOR-16
